                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                      3:04cr271


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                     ORDER
                                         )
TRACY HOWARD (1)                         )
________________________________________ )


         THIS MATTER is before the Court upon the letter motion of the defendant to remove his

third court-appointed counsel and replace him with new appointed counsel.

         The letter was received by the Court on March 21, 2006, two weeks before the defendant’s

trial date. The trial of this case has previously been continued eight times. The defendant’s

allegations of ineffective assistance of counsel are not sufficient to warrant substitution of counsel

at this late date. Accordingly, if the defendant chooses not to cooperate with his third appointed

counsel, he may represent himself at trial. United States v. Morsley, 64 F.3d 907, 918 (4th Cir.

1995).

         IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

         The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, and to the United States Attorney.
                                                    Signed: March 24, 2006




         Case 3:04-cr-00271-RJC          Document 212        Filed 03/24/06       Page 1 of 1
